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     Attorneys for Defendant
 8
     COLONIAL PENN LIFE
 9   INSURANCE COMPANY
10                       UNITED STATES DISTRICT COURT
11                      EASTERN DISTRICT OF CALIFORNIA
12   MARK COLE, on behalf of himself and all    Case No.
     others similarly situated and aggrieved,
13                                              State Case No.: 23CV012045
14              Plaintiff,
                                                DEFENDANT COLONIAL PENN
15                                              LIFE INSURANCE COMPANY’S
          v.                                    CORPORATE DISCLOSURE
16                                              STATEMENT
     COLONIAL PENN LIFE INSURANCE
17
     COMPANY; and DOES 1 to 50, inclusive
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19
                Defendants.

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          DEFENDANT COLONIAL PENN LIFE INSURANCE COMPANY’S CORPORATE
                            DISCLOSURE STATEMENT
 1                     CORPORATE DISCLOSURE STATEMENT
 2         Pursuant to Federal Rule of Civil Procedure 7.1, Defendant Colonial Penn Life
 3   Insurance Company, by and through the undersigned, states that it is a wholly-owned
 4   indirect subsidiary of CNO Financial Group, Inc.
 5
 6    DATED: December 22,           ALSTON & BIRD LLP
      2023
 7
 8                                  By: /s/ Kathy J. Huang
                                      Kathy J. Huang
 9                                    Rachel E. K. Lowe
10                                    Attorneys for Defendant
                                      COLONIAL PENN LIFE INSURANCE
11                                    COMPANY
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          DEFENDANT COLONIAL PENN LIFE INSURANCE COMPANY’S CORPORATE
                            DISCLOSURE STATEMENT
 1                                 PROOF OF SERVICE
 2
           I, Nora Fernandez, declare:
           I am employed in the County of Los Angeles, State of California. I am over the
 3
     age of 18 and not a party to the within action. My business address is Alston & Bird
 4   LLP, 333 South Hope Street, Sixteenth Floor, Los Angeles, California, 90071.
 5                 On December 22, 2023, I served the document(s) described as
     STIPULATION EXTENDING DEFENDANT COLONIAL PENN LIFE
 6   INSURANCE COMPANY’S DEADLINE TO RESPOND TO PLAINTIFF’S
 7   INTIAL COMPLAINT BY NOT MORE THAN 28 DAYS on the interested parties
     in this action by enclosing the document(s) in a sealed envelope addressed as follows:
 8   SEE ATTACHED SERVICE LIST
 9        BY MAIL: I am “readily familiar” with this firm’s practice for the collection and the processing
           of correspondence for mailing with the United States Postal Service. In the ordinary course of
10         business, the correspondence would be deposited with the United States Postal Service at 333
11         South Hope Street, Los Angeles, California, 90071 with postage thereon fully prepaid the same
           day on which the correspondence was placed for collection and mailing at the firm. Following
12         ordinary business practices, I placed for collection and mailing with the United States Postal
           Service such envelope at Alston & Bird LLP, 333 South Hope Street, Los Angeles, California,
13         90071.
14
           UPS NEXT DAY AIR  FEDERAL EXPRESS  OVERNIGHT DELIVERY: I
15         deposited such envelope in a facility regularly maintained by  UPS  FEDERAL
           EXPRESS  OVERNIGHT DELIVERY [specify name of service:                                   ] with
16         delivery fees fully provided for or delivered the envelope to a courier or driver of  UPS 
           FEDERAL EXPRESS                OVERNIGHT DELIVERY [specify name of service:
17         ________________] authorized to receive documents at Alston & Bird LLP, 333 South Hope
           Street, Los Angeles, California, 90071 with delivery fees fully provided for.
18
19        BY ELECTRONIC MAIL TRANSMISSION WITH ATTACHMENT: On this date, I
           transmitted the above-mentioned document(s) by electronic mail transmission with attachment
20         to the parties at the electronic mail address set forth on the attached Service List.

21        [State]      I declare under penalty of perjury under the laws of the State of California that the
                        above is true and correct.
22
23        [Federal]    I declare under penalty of perjury under the laws of the United States of America
                        that the foregoing is true and correct.
24
           Executed on December 22, 2023, at Los Angeles, California.
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                                                                           Nora Fernandez
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                                               SERVICE LIST
 1   Mark Cole, et al. v. Colonial Penn Life Insurance Company, et al.
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                             SERVICE LIST
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                                        Class
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